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                       IN THE UNITED STATES DISTRICT COURT
                                     FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

GEORGE A. HEDICK, JR., et al.
,

Plaintiff(s),
                                                      Case No. 19-cv-1339;
v.                                                             19-cv-1845;
                                                               19-cv-2807
THE KRAFT HEINZ COMPANY, et. al.,
                                                      Judge Robert M. Dow
Defendant(s).

                                            ORDER

For the reasons set forth above, the Court consolidates the above-captioned cases. The Court
further grants the lead plaintiff motion of the AP7/Union Group [57] and approves the selection
of Kessler Topaz Meltzer & Check, LLP and Bernstein Litowitz Berger & Grossmann LLP as
co-lead counsel. The Court denies the remaining lead plaintiff motions [46; 49; 52; 61] in full.
The AP7/Union Group’s motion [106] for discovery, the AP7/Union Group’s motion [114; 115]
for leave to file a sur-reply, and the NYC Fund’s motion [130] to take judicial notice are denied
as moot. The motions to seal [103; 112; 117; 125; 129; 134] will be referred to a magistrate.
The case is set for further status on October 22, 2019 at 9:00 a.m.




Date: 10/8/2019                                     /s/ Judge Dow
